Name and Case
         address:2:19-cv-07257-VAP-SS                  Document 8 Filed 08/29/19 Page 1 of 4 Page ID #:23

                          Nicholas M. Wajda
               11400 West Olympic Boulevard, Suite 200M
                     Los Angeles, California 90064


                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                                              CASE NUMBER
ADRIAN GARCIA,
                                                          Plaintiff(s),              2:19-cv-07257-VAP-SS
                   v.
                                                                                APPLICATION OF NON-RESIDENT ATTORNEY
AURA FINANCIAL CORPORATION,                                                           TO APPEAR IN A SPECIFIC CASE
                                                        Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
    => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order (using
    Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time of filing (using a credit card).
    The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be grounds for
    denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain attorneys for the
    United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the G-64 ORDER in
    Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Figueroa, Alejandro E.
Applicant's Name (Last Name, First Name & Middle Initial)                                            check here if federal government attorney
Sulaiman Law Group, Ltd.
Firm/Agency Name
2500 South Highland Avenue                                                (630) 575-8181                         (630) 575-8188
Suite 200                                                                 Telephone Number                       Fax Number
Street Address
Lombard, IL 60148                                                                             alejandrof@sulaimanlaw.com
City, State, Zip Code                                                                                 E-mail Address

I have been retained to represent the following parties:
Adrian Garcia                                                             ✖   Plaintiff(s)    Defendant(s)      Other:
                                                                              Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                    Name of Court                         Date of Admission             Active Member in Good Standing? (if not, please explain)
                 State Bar of Illinois                       11/10/2016                 Yes
        Northern District of Illinois                         9/20/2019                 Yes



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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section N if
needed):
        Case Number                                     Title ofAction                             Date ofAaplication        Granted I Denied?
2:19-cv-02170                            Piumetti v. Firstsource Advantage, LLC                       3/22/2019                     Granted
2:19-cv-03383                  Odom v. Law Offices of Robert J. Colclough, III et. al.               4/26/2019                     Granted

2:19-cv-04344                            Wryn v. Michael & Associates, PC                            5/22/2019                     Granted

2:19-cv-04444                            Robinson v. Miller Stark Klein & Associates                 5/22/2019                     Granted
2:19-cv-04609                           Piumetti v. Adler Wallach & Associates, Inc.                5/28/2019                      Granted

If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Has the applicant previously registered as a CM/ECF user in the Central District of California?            !RI Yes       D   No
If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above? IR] Yes               D   No

                                                                                                 alejandrof@sulaimanlaw.com
                                                                                               Previous E-mail Used (ifapplicable)

Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECF") System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case.



           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           ( 1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
                professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
                and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
                maintains an office in the Central District of California for the practice of law, as local counsel pursuant to Local
                Rule 83-2.1.3.4.

               Dated 8/21/2019                                         Alejandro E. Figueroa
                                                                       Applicant's Nam                   print)
                                                                                                  ::y
                                                                                         �

                                                                       Applicant's Signature




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